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Tenant shall keep Landlord fully apprised of the progress of Tenant’s remediation efforts.

Section 11.4 Tenant shall indemnify, defend and hold harmless Landlord, its
managing agent, its Superior Landlord, if any, its Mortgagee, if any, and their respective
members, shareholders, partners, directors, managers, officers, employees, and agents, from
and against all liabilities, damages, losses, fines, costs and expenses (including reasonable
attorneys’ fees and disbursements) resulting or arising from, or incurred in connection with
any violation by Tenant of its obligations with respect to Hazardous Substances under this
lease or otherwise under any applicable Laws.

Section 11.5 If Tenant conducts any auction, fire sale, going out of business
sale, bankruptcy sale, or similar type of sale at the Premises in accordance with the provisions of
this lease, Tenant shall obtain, and deliver to Landlord, prior to commencement of such auction
or sale, any necessary permits, licenses and/or approvals required by any applicable Laws in
connection therewith.

Section 11.6 Tenant shall, at its own cost and expense, secure and maintain
throughout the Term, all necessary licenses and permits from such Authorities as shall be
necessary for, or incidental to, the conduct of its business in the Premises and shall comply with
all Laws relating to the operation of its business. Landlord does not covenant, watrant or make
any representation that any Authority license or permit that may be required in connection with
the operation of Tenant’s business will be granted, or if granted, will be continued in effect or
renewed, and any failure to obtain, maintain, or renew such license or permit, or its revocation
after issuance, shall not affect Tenant’s obligations under this lease,

Section 11.7 Subject to the provisions of this Section, provided that Tenant is
not in Default, Tenant, at Tenant’s expense, may contest by appropriate proceedings prosecuted
diligently and in good faith the legality or applicability of any Laws affecting the Premises for
which Tenant is responsible hereunder (any such proceedings instituted by Tenant, a
“Compliance Challenge”), provided however, that Tenant’s delay in compliance shall not cause
(a) Landlord or Tenant to be subject to imprisonment or prosecution for a crime, (b) the Real
Property or any part thereof to be condemned or vacated, (c) the certificate of occupancy for the
Building or any part thereof to be suspended or cancelled, and/or (d) the use and enjoyment of its
space by another lessee or licensee at the Real Property to be adversely affected. Tenant must
give Landlord at least ten (10) business days notice before Tenant initiates a Compliance
Challenge, and shall not initiate it if Landlord reasonably objects. At Landlord’s request, prior to
initiating a Compliance Challenge, Tenant shall furnish Landlord with either cash or a bond from
a surety company reasonably satisfactory to Landlord in form and substance, in an amount equal
to 120% of the sum, as reasonably estimated by Landlord, of (i) the cost of such compliance and
(ii) the amount of any and all penalties and fines that may accrue by reason of non-compliance
and (iii) the amount of any Landlord liability to third parties. Tenant shall keep Landlord
informed regularly as to the status of any Compliance Challenge.

Article 12.Subordination; Estoppel Certificates

Section 12.1 This lease, and the rights of Tenant under this lease, are subject
and subordinate in all respects to all present and future underlying leases of the Real Property,
including all modifications, extensions and replacements thereof (“Superior Leases”) and all
present and future mortgages on any Superior Lease or on the Building and/or the Real Property
including all increases, renewals, modifications, extensions, supplements, consclidations and

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replacements thereof (“Mortgages”), and all advances under any Mortgage. This Section is self-
operative and no further instrument of subordination is required, Tenant shall, within fifteen (15)
days following receipt of Landlord’s request, sign, acknowledge and deliver any instrument that

Landlord, any landlord under a Superior Lease (“Superior Landlord”) or any mortgagee under a
Mortgage (“Mortgagee”) may request to evidence such subordination.

Section 12.2. If any Mortgagee or any Superior Landlord or any successor or
assignee thereof or any purchaser at a foreclosure sale or by deed in lieu of foreclosure succeeds
to the rights of Landlord under this lease, then at the request of same, Tenant shail attorn to such
Mortgagee, Superior Landlord, successor, assignee or purchaser as Tenant’s landlord under this
lease. Tenant shali, within fifteen (15) days following request by such Mortgagee, Superior
Landiord, successor or assignee, sign, acknowledge and deliver any instrument that such
Mortgagee, Superior Landlord, successor, assignee, or purchaser requests to evidence the
attornment.

Section 12.3 If any Mortgagee or Superior Landlord requires any modifications
of this lease, Tenant shall, within fifteen (15) days following Tenant’s receipt of a request, sign,
acknowledge and deliver to Landlord instruments in form and substance reasonably requested by
Landlord providing for those modifications (provided they do not materially adversely affect
Tenant),

Section 12.4 Landlord and Tenant shall, at any time and from time to time,
within fifteen (15) days following its receipt of a request from the other party, sign, acknowledge
and deliver to the requesting party or any other person designated by that party a certification (a)
that this lease is in full force and effect and has not been modified (or, if modified, setting forth
all modifications), (b) stating the date to which the Rent has been paid, (c) stating whether or not,
to its actual knowledge, the other party is in default of its obligations under this lease and if so,
describing the default, including any event that has occurred which, with the serving of notice or
the passage of time, or both, would give rise to a default, and (d) stating to its actual knowledge,
any other factual matters reasonably requested by the other party or any person designated by the
other party. Any certification delivered pursuant to this Section may be relied upon by the third
party for whom the certification is requested but shall not, as between Landlord and Tenant,
affect their respective rights

Article 13.insurance

Section 13,1 Tenant shall, at Tenant’s expense, maintain at all times during the
Term and at all times when Tenant is in possession of the Premises such insurance as shall be
required by Landlord, including: (a) commercial general liability insurance (or successor form
of insurance designated by Landlord) in respect of the Premises, on an occurrence basis, with a
combined single limit (annually and per occurrence and location) of not less than three million
($3,000,000) dollars naming as additional insureds Landlord and any other person designated by
Landlord, (b) property insurance in an amount equal to one hundred (100%) percent of full
replacement value (with a deductible not exceeding five thousand ($5,000) dollars) covering
Tenant’s Work (including improvements and betterments, whether or not the improvements and
betterments are restored), Tenant’s Property and the property of third parties located in the
Premises, against fire and other risks included in the standard New York form of property
insurance, including business interruption insurance covering a period of twelve (12) months,
(c) workers' compensation and employer's liability insurance providing statutory benefits for

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Tenant's employees at the Premises (d)} such other insurance as Landlord may reasonably require.
Such liability insurance policy shall include contractual liability, fire and legal liability coverage.
Landlord shall have the right at any time and from time to time, but not more frequently than

once every two (2) years, to require Tenant to increase the amount of the commercial general
liability insurance required to be maintained by Tenant under this lease provided the amount
shall not exceed the amount then generally required of tenants entering into leases for similar
Permitted Uses in similar buildings in the general vicinity of the Real Property.

Section 13.2 Tenant shall deliver to Landlord and each additional insured (a) .
certificates in form reasonably acceptable to Landlord evidencing the insurance required by this.
lease to be maintained by Tenant before the Commencement Date (and with respect to any
insurance required pursuant to Article 5, before the commencement of any Tenant’s Work), and
at least fifteen (15) days before the expiration of any such insurance, and (b) upon request, a
copy of each insurance policy. All required insurance (including insurance required pursuant to
Article 5) shall be primary and non-contributory (as shown on endorsement), issued by
companies reasonably satisfactory to Landlord and contain a provision whereby it cannot be
canceled unless Landlord and any additional insureds are given at least thirty (30) days’ prior
written notice of the cancellation. Tenant may carry any required insurance under a blanket
policy if that policy complies with the requirements of this lease and provides that Tenant’s
insurance for the
Premises is on a “per location basis”,

Section 13.3 Tenant shall not do or permit to be done any act which shall
invalidate or be in conflict with Landlord’s insurance policies, or increase the rates of insurance
applicable to the Real Property. If, as the result of a Default, Tenant’s occupancy of the
Premises (whether or not such occupancy is a Permitted Use),.and/or specific hazards
attributable to Tenant’s occupancy, the insurance rates for the Real Property or Building
increase, Tenant shal! reimburse Landlord for one hundred (100%) percent of such increase in
premium(s), within fifteen (15) days after Tenant is billed therefor.

Section 13.4 Provided its right of full recovery under its insurance policy is not
adversely affected, Landlord and Tenant each hereby releases the other (and the other’s agents
and employees) with respect to any claim (including a claim for negligence) it may have against
the other for damage or loss covered by its property insurance (including business interruption
and loss of rent), Landlord and Tenant shall, to the extent obtainable, cach procure a clause in,
or endorsement on, any property insurance carried by it, pursuant to which the insurance
company waives its right of subrogation against the other party to this lease and its agents and
employees or consents to a waiver of the right of recovery against the other party to this lease
and its agents and employees. If an additional premium is required for the waiver or consent, the
other party shall be advised of that amount and may, but is not obligated to, pay the same. If that
party elects not to pay the additional premium, the waiver or consent shall not be required in
favor of that party.

Section 13.5 Any subtenant or other occupant of the Premises shall! be obligated
to comply with the provisions of this Article. :

Article 14.Casualty
Section 14.1 If (a) the Premises are damaged by fire or other casualty, or (b) the

Building (including any Building system) is damaged by fire or other casualty so that Tenant is
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deprived of reasonable access to the Premises or so that the Premises or any part of the Premises
is unusable by Tenant for the reasonable conduct of Tenant’s normal business in the Premises,
Tenant shall give prompt notice to Landlord. Subject to the provisions of this Article (i)

Landlord shall, at Landlord’s expense, repair the damage to the Premises, excluding the damage
to Tenant’s Work or Tenant’s Property and (ii) Tenant shall, at Tenant’s expense, promptly
remove Tenant’s Property from the Premises to the extent required by Landlord in connection
with Landlord’s repair of the damage and shall promptly after Landlord's substantial completion
of the repair to the Premises, commence to diligently repair Tenant's Work and Tenant's Property
in order to resume its normal business in the Premises, Until the repairs to be performed by
Landlord are substantially completed, the Rent shall be reduced in proportion to the area of the
Premises to which Tenant shall not have reasonable access or which is unusable by Tenant for
the reasonable conduct of Tenant’s normal business in the Premises and which Tenant does not
actually use.

Section 14.2 If (a) the Premises are rendered wholly untenantable or (b) the
Premises are damaged by any cause which is not covered by Landlord’s insurance, or (c) greater
than 50% of the Premises are damaged in-+whole-orin-part during the last two (2) years of the
Term, or (d) the cost of repairing any damage to the Building by fire or other casualty exceeds
twenty-five percent (25%) of the replacement cost thereof, as reasonably estimated by a
reputable contractor, architect or engineer selected by Landlord, Landlord shall have the right, by
notice given to Tenant within sixty (60) days following the date of the damage, to terminate this
lease. If this lease is terminated pursuant to this Section, the Term shail expire on the fifteenth
(15th) day after the notice is given as fully and completely as if such date were the stated
Expiration Date.

Section 14.3. This Article constitutes an express agreement governing any
damage to or destruction of the Premises or the Building by fire or other casualty, and Section
227 of the Real Property Law of the State of New York, and any other similar Laws shall have
no application to a fire or other casualty.

Article 15.Condemnation

Section 15.1 [fas the result of a taking by condemnation or similar legal action
of an Authority or a taking by an Authority effected in any other manner (a) all of the Premises,
or so much thereof as renders the Premises wholly unusable by Tenant, is taken, (b) Tenant no
longer has reasonable access to or use of the Premises, (c) all or substantially all of the Building
is taken or (d) a portion of the Building is taken resulting in Landlord’s determination to
demolish the Building, or (e) the number of parking spaces in or serving the Real Property are
reduced by such taking below the number of spaces required by any Laws and such reduction
adversely impacts the use of the Premises, the Term shall expire on the date of the vesting of title
as fully and completely as if such date were the stated Expiration Date. In the event of any such
taking of all or any part of the Premises or the Real Property, Landlord shall be entitled to
receive the entire award. Tenant shall have no claim against Landlord or any Authority for the
value of the unexpired portion of the Term or Tenant’s Work, and Tenant hereby assigns to
Landlord ali of its right in and to any such award. Tenant may, however, at Tenant’s expense,
make a separate claim to the appropriate Authority for the value of Tenant’s Property and for
moving expenses, provided such claim and award, if any, do not result in a reduction of the
award which would otherwise be paid to Landlord, If a taking does not result in the termination
of this lease (i) Landlord shall, at Landlord’s expense, as soon as practicable, restore that part of

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the Premises or the Real Property not taken to the extent reasonably practicable, so that the
Premises are usable, and (ii) from and after the date of the vesting of title, the Rent shall be
reduced in the same proportion as the area of the Premises, if any, which was taken.

Article 16.Assignment and Subletting

Section 16.1 Except as provided in this Article, Tenant shall not, without
Landlord’s prior consent (which consent may be given or withheld at the sole discretion of the
Landlord, not to be unreasonably withheld), assign, encumber or otherwise transfer this lease or
any interest in this lease, by operation of law or otherwise, or sublet or permit others to occupy |
all or any part of the Premises, or license concessions or lease departments in the Premises, and
any assignment, encumbrance, transfer, sublet, occupancy agreement, license or department.
lease shall be void ab initio if not in accordance with this Article. The transfer or issuance (by
one or more related or unrelated transactions) of ownership interests of Tenant, or any
Guarantor, or any direct or indirect owner of Tenant, which results in 50 percent or more of the
ownership interests of that person being held by persons who did not hold 50 percent or more of
those ownership interests on the date of this lease shall be considered an asaigninent of this lease
which requires
Landlord’s consent, unless such ownership interests are publicly traded on a national stock
exchange or over-the-counter market, Tenant shall not permit any advertising or circulars
regarding availability of the Premises for sublease or assignment to publicize an asking price that
is equal to or less than Landlord’s then current asking price.

Section 16.2 If Tenant desires to assign this lease or to sublet all or substantially
all of the Premises, then upon Landlord’s receipt of the Consent Request (hereinafter defined),
together with the documents and information required under Section 16.4(d), Landlord may, at
its option, elect to terminate this lease by notice given to Tenant, which notice shall specify a
date for the termination of this lease (the “Recapture Termination Date”). Such option shall be
exercised by giving Tenant notice of exercise within thirty (30) days after the date Landlord
receives the Consent Request and the documents and information required under Section 16.4(d),
The Recapture Termination Date shall be a date no earlier than two (2) months and no later than
four (4) months after the date the Consent Request and such supplemental documents and
information are delivered to Landlord. Upon the Recapture Termination Date, this lease and the
term thereof shall end and expire as fully and completely as if such date were the date set forth
herein as the stated Expiration Date. Tenant shall thereupon quit, surrender and vacate the
Premises, without prejudice, however, to Landlord’s rights and remedies against Tenant under
the lease provisions in effect prior to the Recapture Termination Date or with respect to periods
prior to the Recapture Termination Date, and any Rent owing shall be paid up to such date and
any payments of Rent made by Tenant which were on account of any period subsequent to such
date shall be returned to Tenant. If Landlord so terminates this lease, Landlord may, at its option
and without liability to Tenant, lease the Premises to any person or entity that was negotiating
with Tenant or that signed a lease, sublease or assignment agreement with Tenant for the
Premises. If the Tenant, within 10 days’ receipt of the Landlord’s notice specifying the Recapture
Termination Date, sends notice to the Landlord rescinding the Consent Request, then the Lease
shall remain in full force and effect.

Section 16.3 Tenant acknowledges that the character and nature of the stores,
store management and operations within the Building are important to Landlord and to the
success of the Building. Subject to Tenant’s compliance with the applicable provisions of this
Article, Landlord agrees not to unreasonably withhold or delay its consent to a proposed

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